        Case 1:21-cr-00024-EGS Document 93 Filed 01/15/22 Page 1 of 6




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

 v.                                         Crim. Action No. 21-24-1 (EGS)

 ROBERT GIESWEIN,

                     Defendant.



      MR. GIESWEIN’S RESPONSE TO FILING OF THE DISTRICT OF
             COLUMBIA DEPARTMENT OF CORRECTIONS
      On January 6, 2022, the District of Columbia Department of Corrections (DOC)

filed a report on conditions at the District’s Correctional Treatment Facility (CTF) in

accordance with this Court’s order of December 23. See Jan. 23, 2022 Minute Entry.

Mr. Gieswein respectfully responds to that filing as follows.

      As the DOC notes, the Court ordered both the government and the DOC to file

briefs addressing:

             (1) the response by the United States Marshals Service
             (USMS) to address the deficiencies identified in USMS's
             letter of November 1, 2021, since the implementation of the
             Memorandum of Understanding between the District of
             Columbia Department of Corrections (DOC) and USMS
             was entered on or about November 10, 2021, with
             particular focus on corrective action the USMS has
             requested that the DOC take at the Central Treatment
             Facility (CTF), and whether DOC has taken such corrective
             action;
             (2) the status of COVID-19 pandemic conditions at CTF,
             including the number of detainees and staff (if known) who
             have tested positive between today's date and the date of
             filing; and
        Case 1:21-cr-00024-EGS Document 93 Filed 01/15/22 Page 2 of 6




             (3) the DOC's response to COVID-19 conditions at CTF,
             including any mandatory lockdowns and/or limitations on
             inmates' access to discovery, recreation, hygiene, attorney
             visits that are in place as of the date of filing. It is
             FURTHER ORDERED that the D.C. Department of
             Corrections shall file a pleading addressing the same topics
             by no later than January 5, 2022.
See Dec. 23, 2021 Minute Entry; see also Dec. 29 Minute Entry (extending deadline).
I.    The DOC’s filing does not provide the information the Court sought.
      The Court’s order required the DOC to address any “corrective action that the

USMS has requested that the DOC take at the . . . CTF, and whether the DOC has

taken such corrective action” since entry of the Memorandum of Understanding

(MOU) between the USMS and the DOC on November 10. See Dec. 23, 2021 Minute

Entry. Indeed, the order as a whole is focused on conditions at CTF, where Mr.

Gieswein is housed.

      Nevertheless, the DOC’s response focuses on the Central Detention Facility

(CDF) instead. The DOC hangs its hat on the fact that the Court referred to the

USMS letter of November 1, 2021. The DOC implies that the USMS letter “did not

identify any alleged deficiencies at CTF.” DOC Br, ECF No. 80, at 2. But as the DOC

thereafter acknowledges, that is not quite what the USMS reported. Rather, the

USMS found that conditions at CTF “were observed to be largely appropriate and

consistent with federal prison standards.” Nov. 1, 2021 USMS Letter, ECF No. 80-1

(emphasis added); quoted in ECF No. 80. In other words, although the USMS did not

list any deficiencies at CTF in the November 1 letter, it never stated that everything

at CTF was appropriate or in keeping with federal standards.




                                          2
         Case 1:21-cr-00024-EGS Document 93 Filed 01/15/22 Page 3 of 6




      The DOC goes on to note certain steps that it has taken to correct “verified

deficiencies at its correctional facilities, including CTF.” Id. This is unclear: it either

confirms that there were “verified deficiencies” at CTF, or that there were none. And

it leaves opaque whether the steps it lists are being implemented at CTF, or just at

CDF. Regardless, some of the steps that the DOC lists beg more questions than they

answer. For example, DC states that the agency has “begun auditing the agency’s

daily cell block inspection sheets with a focus on complaints of mold and plumbing

issues.” Id. This gives neither the Court nor the parties any insight into whether the

DOC has observed mold at CDF (or CTF), or whether anyone is doing anything about

it, if so. Likewise, the statement that the DOC has implemented “daily rounds in

DOC’s housing units to assess the conditions of cells . . .” does not provide the Court

with a real update on conditions in the cells.

      On January 10, the government filed a motion for more time to provide the

USMS’s report on conditions at CTF. Gov. Mot. to Continue, ECF No. 82. That filing

stated that the USMS “has continued to monitor the conditions at both CDF and CTF

through on-site observations.” Id. at 1-2. It also notes that “USMS reports that it has

observed additional deficiencies through its monitoring, including several deficiencies

at CTF.” Id. at 2 n.1. Hopefully the USMS report – now due on January 17 – will

provide some real insight into conditions at CTF. See Jan. 11, 2022 Minute Order

(granting continuance to government). Mr. Gieswein reserves the right to respond to

that filing either in writing or at the hearing scheduled on January 19.




                                            3
        Case 1:21-cr-00024-EGS Document 93 Filed 01/15/22 Page 4 of 6




II.   Mr. Gieswein is enduring severe lockdown conditions and limited
      access to counsel.
      At least one thing is clear about conditions at CTF from the DOC’s filing.

Detainees there are once again subject to extreme limitations due to the effects of the

Omicron variant of the coronavirus, including rising rates of detainee and staff

coronavirus infections at the jail. ECF No. 80 at 3-4. “DOC has restricted group

activities at its correctional facilities, suspended non-legal in-person and video

visitation, limited resident out of cell time to two hours per day cancelled barbering

and cosmetology services for all residents, except for those with upcoming jury trials.”

Id.

      These responses to the virus – especially limiting human beings to jail cells for

23 hours a day – are extremely harsh, as many courts have recognized throughout

the pandemic. See, e.g., United States v. Cruz, 3:18-CR-81 (SRU), 2021 WL 1268253,

at *3 (D. Conn., Apr. 6, 2021) (noting that courts considering compassionate release

motions have “considered the extent to which onerous lockdowns and restrictions

imposed [to attempt] to control the spread of the virus have made sentences ‘harsher

and more punitive than would otherwise have been the case’”) (internal citations

omitted).

      In addition to yet again having to endure extremely restricted movement as he

approaches one year in custody, Mr. Gieswein also now has very limited access to

counsel. That is because he is housed in a quarantined unit, and, as the DOC notes

in a footnote, these detainees “do not have access to in-person or virtual visits with




                                           4
          Case 1:21-cr-00024-EGS Document 93 Filed 01/15/22 Page 5 of 6




counsel.” ECF No. 80 at 4 n.3. And although jail staff have attempted to arrange for

Mr. Gieswein to make a legal call on a private line to counsel, this has failed to date. 1

                                    CONCLUSION

      There may be occasions when a defendant is so dangerous and obviously

uncontrollable that the Court must detain that person to keep the community safe,

even if the jail is struggling to achieve compliance with federal standards, and even

in the midst of a pandemic rendering pretrial detention far more harsh than usual.

But this is not such a case, given Mr. Gieswein’s history, all the other factors weighing

in favor of the conclusion that he would not offend if released pursuant to conditions,

and the very strict and carefully tailored conditions he has proposed. For these

reasons, those he may offer in response to the government’s filing regarding the

USMS report, those he may offer at the upcoming hearing, and the entire record, he

respectfully renews his request that the Court release him.

      Respectfully submitted on January 15, 2022.

                                                ROBERT GIESWEIN
                                                by counsel:

                                                Geremy C. Kamens
                                                Federal Public Defender for the
                                                Eastern District of Virginia

                                                by:________s/_______________
                                                Ann Mason Rigby
                                                DC Bar No. 491902



      1One staff member informed undersigned counsel one day last week that only
two counselors were available that day to facilitate legal calls for the entire jail.


                                            5
Case 1:21-cr-00024-EGS Document 93 Filed 01/15/22 Page 6 of 6




                                 Elizabeth A. Mullin
                                 DC Bar No. 484020
                                 Assistant Federal Public Defenders
                                 1650 King Street, Suite 500
                                 Alexandria, Virginia 22314
                                 Telephone: (703) 600-0800
                                 Facsimile: (703) 600-0880
                                 ann_rigby@fd.org
                                 elizabeth_mullin@fd.org




                             6
